






 NO. 07-07-0004-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JANUARY 26, 2007



______________________________




GUMESINDO GASNAREZ, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 137TH DISTRICT COURT OF LUBBOCK COUNTY;



NO. 2004-405,559; HONORABLE CECIL PURYEAR, JUDGE



_______________________________



Before CAMPBELL and HANCOCK and PIRTLE, JJ.

MEMORANDUM OPINION


	Pursuant to a plea of guilty, Appellant Gumesindo Gasnarez was convicted of
delivery of a controlled substance and was assessed a life sentence.  Proceeding pro se,
Appellant filed a notice of appeal.  The trial court's Certification of Defendant's Right of
Appeal reflects the case is a plea-bargain case with no right of appeal.

	By letter dated January 9, 2007, this Court notified Appellant that the certification
indicated he had no right of appeal and requested a response by January 22, 2007.  The
Court also noted that failure to file an amended certification showing a right of appeal or
failure to provide other grounds for continuing the appeal would result in dismissal. 
See&nbsp;Tex. R. App. P. 25.2(a)(2) &amp; (d).  In response to the January 9 notification, this Court
did receive a pro se response, post-marked January 23, 2007, wherein the Appellant 
attempted to raise issues which would be outside the record.  No amended certification
demonstrating a right of appeal was filed.  Consequently, the appeal is dismissed.


							Patrick A. Pirtle

							      Justice



Do not publish.


